                                    Case 1:25-cv-00687-SCJ          Document 6        Filed 03/13/25       Page 1 of 3


Shane Gazaway

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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION           ATTEST: A TRUE COPY
                                                                       CERTIFIED THIS

VALLEYFIELD PARTNERS, LLC,                                     Date: Mar 13 2025
                                                                     ________________________

d/b/a VALLEYFIELD                                          KEVIN P. WEIMER, Clerk

APARTMENTS and R. JAMES                                        s/Shane Gazaway
                                                           By: ____________________________
PROPERTIES, INC.,                                                   Deputy Clerk

       Plaintiffs,                           CIVIL ACTION FILE
       v.                                    NO. 1:25-CV-0687-SCJ
 JAIRUS LONG and all others,
       Defendant.

                                   ORDER

      This matter is before the Court for consideration of the Final Report and

Recommendation of Magistrate Judge Linda T. Walker [Doc. 3], to which no

objections have been filed. After reviewing the Report & Recommendation, it is

received with approval and ADOPTED as the Opinion and Order of this Court.

Accordingly, this civil action is hereby REMANDED to the Magistrate Court of

DeKalb County, Georgia.

      IT IS SO ORDERED, this 13th day of March, 2025.



                                    STEVE C. JONES
                                    UNITED STATES DISTRICT JUDGE
